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C, CONRAD CLAUS, ESQ.

State Bar Number 6601
8165S. Ogden Avenue
Las Vegas, Nevada 89101

702-384-4927 Fax 385-4927

Conrad@lawiswar.com

Attorney for Plaintiff

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

 

DARYAL TAYLOR,
Plaintiff,
VS.

 

NYE COUNTY SHERIFF’S
DEPARTMENT, a political subdivision of
Nye County, et al , Defendants.

CASE NO. 2:2013-cv-2199-APG-VCF

CERTIFICATE OF INTERESTED
PARTIES

 

 

CERTIFICATE OF INTERESTED PARTIES

COMES NOW DARYAL TAYLOR, Plaintiff, by and through his attorney of record, C.

Conrad Claus, Esq. and hereby state that there are no known interested parties, other than those

participating in this case.

Dated this 19 day of December, 2013

/s/ C. Conrad Claus, Esq.

C. CONRAD CLAUS, ESQ.

THE LAW OFFICES OF C. CONRAD CLAUS
Nevada Bar No. 6601

816 E. Ogden

Las Vegas, NV 89101

(702) 384-4927 Phone

(702) 385-4927 Fax

Attorney for Plaintiff

DARYAL TAYLOR

 
